USCA4 Appeal: 23-1059   Doc: 62      Filed: 03/31/2023   Pg: 1 of 68




                                        No. 23-1059


                   United States Court of Appeals
                       for the Fourth Circuit
                        SOUTH CAROLINA STATE PORTS AUTHORITY,
                                                                       Petitioner,
                                       and
          THE STATE OF SOUTH CAROLINA; UNITED STATES MARITIME ALLIANCE,
                                      LTD.,
                                                 Intervenors for Petitioner,
                                        v.
                         NATIONAL LABOR RELATIONS BOARD,
                                                               Respondent,
                                       and
              INTERNATIONAL LONGSHOREMEN’S ASSOCIATION, LOCAL 1422;
                   INTERNATIONAL LONGSHOREMEN’S ASSOCIATION,
                                              Intervenors for Respondent.

                        On Petition for Review of an Order of the
                            National Labor Relations Board


                              PETITIONER’S BRIEF

         TRACEY C. GREEN                       CARTER G. PHILLIPS
         BURR & FORMAN LLP                     SIDLEY AUSTIN LLP
         1221 Main Street, Suite 1800          1501 K Street, N.W.
         Columbia, S.C. 29201                  Washington, D.C. 20005
         (803) 753-3224                        (202) 736-8000
         tgreen@burr.com                       cphillips@sidley.com

               Counsel for Petitioner South Carolina State Ports Authority

                         Additional counsel listed on inside cover
USCA4 Appeal: 23-1059   Doc: 62    Filed: 03/31/2023   Pg: 2 of 68




                                  Counsel (continued)

         MICHAEL O. ECKARD
         OGLETREE, DEAKINS, NASH, SMOAK &
         STEWART, P.C.
         211 King Street, Suite 200
         Charleston, S.C. 29401
         (843) 720-0872
         michael.eckard@ogletreedeakins.com

         Counsel for Petitioner South
         Carolina State Ports Authority
USCA4 Appeal: 23-1059   Doc: 62     Filed: 03/31/2023   Pg: 3 of 68




          DISCLOSURE OF CORPORATE AFFILIATIONS AND OTHER
              ENTITIES WITH A DIRECT FINANCIAL INTEREST

              The South Carolina State Ports Authority is not a publicly held

        entity. Thus, it does not have a parent corporation or issue stock.




                                             i
USCA4 Appeal: 23-1059         Doc: 62           Filed: 03/31/2023         Pg: 4 of 68




                                              TABLE OF CONTENTS

        DISCLOSURE OF CORPORATE AFFILIATIONS AND OTHER
        ENTITIES WITH A DIRECT FINANCIAL INTEREST ........................... i
        TABLE OF AUTHORITIES ....................................................................... iv
        JURISDICTIONAL STATEMENT ............................................................. 1
        STATEMENT OF THE ISSUES................................................................. 1
        INTRODUCTION ........................................................................................ 1
        STATEMENT OF THE CASE .................................................................... 6
            I.      Statement Of Facts ........................................................................ 6
            II.     Procedural History ....................................................................... 14
            III.    Rulings On Review ...................................................................... 15
                    A.      ALJ Decision ....................................................................... 15
                    B.      The Board Decision ............................................................ 18
                    C.      Board Dissent ..................................................................... 21
        SUMMARY OF ARGUMENT ................................................................... 24
        ARGUMENT .............................................................................................. 27
        STANDARD OF REVIEW ......................................................................... 27
            I.      ILA’s Lawsuit Violates Sections 8(b)(4)(ii)(A) And (B) And
                    8(e) Of The NLRA ........................................................................ 28
                    A.      ILA’s Lawsuit Has An Illegal Object ................................ 28
                    B.      The NLRB’s Decision That ILA’s Lawsuit Had A
                            Lawful Work-Preservation Object Is Wrong As A
                            Matter of Law .................................................................... 31
                            1.      The Lawsuit’s Object Was Job Acquisition, Not
                                    Job Preservation. ...................................................... 32
                            2.      ILA’s Coercive Conduct Was Unlawful Secondary
                                    Activity Because USMX And Its Carrier-Members
                                    Do Not Control The Lift-Equipment Work At The
                                    Leatherman Terminal ............................................. 42




                                                            ii
USCA4 Appeal: 23-1059         Doc: 62           Filed: 03/31/2023        Pg: 5 of 68




            II.     ILA And USMX And Its Carrier-Members Entered Into An
                    Unlawful Agreement Not To Do Business With New
                    Container-Handling Facilities Which Did Not Use ILA
                    Members For All Container-Related Work. ............................... 50
        CONCLUSION ........................................................................................... 58
        CERTIFICATE OF COMPLIANCE
        CERTIFICATE OF SERVICE




                                                           iii
USCA4 Appeal: 23-1059         Doc: 62           Filed: 03/31/2023        Pg: 6 of 68




                                      TABLE OF AUTHORITIES

                                                                                                    Page(s)

        Cases

        Am. President Lines, Ltd. v. ILWA, Alaska Longshore Div.,
          611 F. App’x 908 (9th Cir. 2015) .......................................................... 48

        BE & K Constr. Co. v. NLRB,
          536 U.S. 516 (2002) ............................................................................... 28

        Bill Johnson’s Rests., Inc. v. NLRB,
           461 U.S. 731 (1983) ..................................................................... 3, 25, 28

        Cal. Cartage Co. v. NLRB,
          822 F.2d 1203 (D.C. Cir. 1987) ............................................................. 31

        Hooks ex rel. NLRB v. Int’l Longshore & Warehouse Union,
          905 F. Supp. 2d 1198 (D. Or. 2012), aff’d in part, vacated
          in part, 544 F. App’x 657 (9th Cir. 2013) ............................................. 49

        Hooks ex rel. NLRB v. Int’l Longshore & Warehouse Union,
          544 F. App’x 657 (9th Cir. 2013) .......................................................... 44

        Int’l Bhd. of Elec. Workers, Loc. Union No. 501 v. NLRB,
           566 F.2d 348 (D.C. Cir. 1977) ............................................................... 42

        Int’l Longshoremen’s Ass’n v. NLRB,
           613 F.2d 890 (D.C. Cir. 1979) ......................................................... 42, 46

        Kennedy ex rel. NLRB v. Sheet Metal Workers Int’l Ass’n Loc. 108,
          289 F. Supp. 65 (C.D. Cal. 1968) .......................................................... 38

        Loc. 32B-32J Serv. Emps. Int’l Union v. NLRB,
          68 F.3d 490 (D.C. Cir. 1995) ..................................................... 40, 41, 43

        Loc. 644, United Bhd. of Carpenters & Joiners of Am. v. NLRB,
          533 F.2d 1136 (D.C. Cir. 1975) ............................................................. 31

        Marrowbone Dev. Co. v. Dist. 17, United Mine Workers of Am.,
          147 F.3d 296 (4th Cir. 1998) ......................................................... passim


                                                          iv
USCA4 Appeal: 23-1059           Doc: 62             Filed: 03/31/2023          Pg: 7 of 68




        Nat’l Woodwork Mfrs. Ass’n v. NLRB,
          386 U.S. 612 (1967) ....................................................................... passim

        NLRB v. Air Contact Transp. Inc.,
          403 F.3d 206 (4th Cir. 2005) ................................................................. 28

        NLRB v. Int’l Longshoremen’ts Ass’n,
          447 U.S. 490 (1980) ....................................................................... passim

        NLRB v. Int’l Longshoremen’s Ass’n,
          473 U.S. 61 (1985) ................................................................. 4, 26, 31, 38

        NLRB v. Loc. 638, Enter. Ass’n of Steam Pipefitters,
          429 U.S. 507 (1977) ....................................................................... passim

        Sheet Metal Workers Int’l Ass’n v. NLRB,
          989 F.2d 515 (D.C. Cir. 1993) ............................................................... 30

        Tecnocap, LLC v. NLRB,
          1 F.4th 304 (4th Cir. 2021) ............................................................. 27, 28

        Statutes

        29 U.S.C. § 158(b)(4)(ii) ................................................................... 2, 24, 29

        29 U.S.C. § 158(e)................................................................................... 5, 24

        29 U.S.C. § 160(a) ........................................................................................ 1

        29 U.S.C. § 160(f) ......................................................................................... 1

        Administrative Decisions

        Elevator Constructors Loc. 3 (Long Elevator & Mach. Co.),
           289 N.L.R.B. 1095 (1988)...................................................................... 52

        Gen. Teamsters Loc. 982 (J.K. Barker Trucking Co.),
          181 N.L.R.B. 515 (1970), aff’d, 450 F.3d 1322 (D.C. Cir.
          1971) ....................................................................................................... 52




                                                                v
USCA4 Appeal: 23-1059           Doc: 62             Filed: 03/31/2023          Pg: 8 of 68




        Int’l Longshoremen’s Ass’n (Dolphin Forwarding, Inc.),
           266 N.L.R.B. 230 (1983), enforced in relevant part, 734
           F.2d 966 (4th Cir. 1984), aff’d, 473 U.S. 61 (1985) ............................. 48

        Lithographers Loc. 78 (Employing Lithographers of Miami),
           130 N.L.R.B. 968 (1961) .................................................................. 51, 57

        Longshoremen Loc. 1291 (Holt Cargo Sys.),
          309 N.L.R.B. 1283 (1992)...................................................................... 41

        Legislative Materials

        McNair Resol. H 1636, 98th Gen. Assemb., 1st Sess., 1969
          S.C. S.J. 826 (Apr. 30, 1969) ................................................................... 8

        Other Authorities

        John E. Higgins, Jr., The Developing Labor Law: The Board,
          the Courts, and the National Labor Relations Act (8th ed.
          2022) ....................................................................................................... 50




                                                               vi
USCA4 Appeal: 23-1059   Doc: 62      Filed: 03/31/2023   Pg: 9 of 68




                          JURISDICTIONAL STATEMENT

              The National Labor Relations Board (“NLRB” or “Board”) had

        jurisdiction over the unfair labor practice charges at issue under 29

        U.S.C. § 160(a). The Board issued its Decision and Order on December

        16, 2022; and petitioner South Carolina State Ports Authority filed its

        petition for review on January 17, 2023. This Court has jurisdiction to

        review the Board’s decision under 29 U.S.C. § 160(f).


                            STATEMENT OF THE ISSUES

           1. Whether the International Longshoremen’s Association (“ILA”)
              violated sections 8(b)(4)(ii)(A) and (B) and 8(e) of the National Labor
              Relations Act by filing a lawsuit against the United States
              Maritime Alliance, Ltd. (“USMX”) and its carrier-members, seeking
              to prevent them from doing business with the South Carolina State
              Ports Authority (“SCSPA”) at the Leatherman Terminal in
              Charleston, South Carolina, unless and until SCSPA assigns the
              lift-equipment jobs there to ILA members.

           2. Whether ILA and USMX have entered into an agreement not to do
              business with new port facilities that do not use ILA members for
              all container-handling jobs in violation of section 8(e) of the
              National Labor Relations Act.

                                    INTRODUCTION

              For decades, the Port of Charleston, owned and operated by the

        South Carolina State Ports Authority (“SCSPA”), has employed roughly

        270 state workers to operate the State-owned lift-equipment used to load

        and unload containers at the Port’s terminals (“the lift-equipment work”).

                                              1
USCA4 Appeal: 23-1059   Doc: 62      Filed: 03/31/2023   Pg: 10 of 68




        Roughly 2,000 members of the International Longshoremen’s Association

        (“ILA”) utilized by carriers who call at the Port perform all other

        longshoreman work there. In 2022, SCSPA opened an additional

        terminal at the Port, Leatherman Terminal, using that same division of

        labor between state employees and ILA members. ILA responded by

        filing a lawsuit not against SCSPA, but instead against the United States

        Maritime Alliance, Ltd. (“USMX”), a multi-employer association of

        carriers that deliver and pick-up containers at East and Gulf Coast ports,

        and two of its carrier-members. The lawsuit alleged that USMX and its

        carrier-members were violating their collective bargaining agreement

        with ILA (the “Master Contract”) by calling at Leatherman Terminal,

        because SCSPA employed state employees for the lift-equipment work

        there. In the lawsuit, ILA seeks $300 million in damages along with fees

        and costs. It has succeeded in its goal: USMX carrier-members have

        ceased calling at South Carolina’s Leatherman Terminal.

              Section 8(b)(4)(ii)(B) of the NLRA provides that it is an unfair labor

        practice for a union “to threaten, coerce, or restrain any person engaged

        in commerce,” where “an object” of the union’s coercive conduct is to force

        that person to “cease doing business with any other person.” 29 U.S.C.



                                              2
USCA4 Appeal: 23-1059   Doc: 62      Filed: 03/31/2023   Pg: 11 of 68




        § 158(b)(4)(ii)(B). Sections 8(b)(4)(ii)(A) and 8(e) make it unlawful for a

        union to enforce and maintain contract provisions with that same illegal

        object. These provisions do not prohibit “primary” activities, which

        directly pressure the employer with whom the union has a dispute. See

        Nat’l Woodwork Mfrs. Ass’n v. NLRB, 386 U.S. 612, 643-44 (1967). They

        do, however, prohibit “secondary” activities, which coerce neutral

        employers to put indirect pressure on the primary employer with whom

        the union has a dispute.

              ILA’s lawsuit does just that: Although ILA’s dispute is with SCSPA

        and its assignment of the lift-equipment work to state employees, ILA’s

        lawsuit pressures USMX and its carrier-members to cease doing business

        at Leatherman Terminal until SCSPA agrees to use ILA members to do

        that work. The suit thus has an “objective that is illegal under federal

        law”—coercing neutral parties (USMX and its carrier-members) to

        pressure SCSPA to give ILA members the lift-equipment jobs. Bill

        Johnson’s Rests., Inc. v. NLRB, 461 U.S. 731, 737 n.5 (1983).

              The NLRB, however, reversed its Administrative Law Judge’s

        (“ALJ’s”) decision that ILA had violated §§ 8(b)(4)(ii)(A) and (B) and 8(e).

        It held that ILA’s lawsuit had a lawful work-preservation purpose.



                                              3
USCA4 Appeal: 23-1059   Doc: 62     Filed: 03/31/2023   Pg: 12 of 68




        Decision and Order (“Decision”) 6 (Joint Appendix (“JA”) 1331). To

        establish a work-preservation defense, a union must show both that its

        sole objective was to preserve bargaining-unit work and that its actions

        were directed at the entity that controls the work assignment. NLRB v.

        Int’l Longshoremen’s Ass’n, 473 U.S. 61, 77 (1985) (“ILA II”). See also

        Marrowbone Dev. Co. v. Dist. 17, United Mine Workers of Am., 147 F.3d

        296, 303 (4th Cir. 1998). ILA met neither prerequisite.

              Here, ILA seeks to obtain lift-equipment jobs at the Port of

        Charleston for its members; it is undisputed that during the 50 years the

        Port has operated, ILA members have never performed that work and

        SCSPA has never been party to a collective bargaining agreement with

        ILA. Moreover, as the Board expressly found, SCSPA—not USMX and its

        carrier-members—“indisputably      controls”    assignment     of   the   lift-

        equipment jobs at the Port. Decision 7 (JA 1332). Thus, by its coercive

        actions against USMX and its carrier-members, ILA “sought to acquire

        work that it never had and that its employer had no power to give it.”

        NLRB v. Loc. 638, Enter. Ass’n of Steam Pipefitters, 429 U.S. 507, 528

        n.16 (1977) (“Pipefitters”). For both reasons, ILA has no work-




                                             4
USCA4 Appeal: 23-1059   Doc: 62     Filed: 03/31/2023   Pg: 13 of 68




        preservation defense. The NLRB’s contrary decision violates precedent of

        the Supreme Court, this Court, and other courts of appeals.

              The Board also erred in holding that the Master Contract does not

        violate section 8(e) of the NLRA. As noted, under that provision, it is an

        unfair labor practice for a union and employer to enter into an “express

        or implied” agreement to “cease doing business” with any other person.

        29 U.S.C. § 158(e). The key question is whether ILA and USMX have

        entered into an agreement that is “tactically calculated to satisfy union

        objectives elsewhere,” that is, ILA’s well-established objectives with

        SCSPA. See Nat’l Woodwork Mfrs., 386 U.S. at 644-45. On this record,

        ILA and USMX have an implied agreement that USMX carrier-members

        will not call at any new container-handling facility at an East or Gulf

        Coast port that does not use ILA members for all longshore work that

        ILA members perform at other ports. The Board, however, arbitrarily

        ignored the overwhelming evidence that the contracting parties had, as

        a practical matter, reached such an agreement. Its decision should be

        reversed.




                                             5
USCA4 Appeal: 23-1059     Doc: 62      Filed: 03/31/2023   Pg: 14 of 68




                               STATEMENT OF THE CASE

        I.    Statement Of Facts

              ILA and its local unions represent longshoremen, clerks, checkers,

        and maintenance workers at East and Gulf Coast ports. Decision 1 (JA

        1326). ILA’s local union at the Port of Charleston, South Carolina is Local

        1422. Id. at 1, 3 (JA 1326, JA 1328). During the relevant time, Harold

        Daggett served as ILA President, with Dennis Daggett and Kenneth

        Riley serving as ILA Vice-Presidents. Decision 4 (JA 1329); Dissent from

        Decision 10 (JA 1335).

              USMX is a multi-employer association of container carriers,

        terminal operators and port associations. Decision 1 (JA 1326). Its

        members are responsible for the transportation and handling of cargo

        shipped to and from U.S. ports, including the Port of Charleston. Id. (JA

        1326).   It     represents   its   carrier-members      in    negotiating   and

        administering collective bargaining agreements with ILA and its local

        unions, including Local 1422. David Adam is the USMX Chairman and

        Chief Executive Officer. Id. at 2 (JA 1327).

              ILA and USMX have long been parties to a Master Contract that

        covers employees at ports along the East and Gulf Coasts of the United

        States. The most recent Master Contract is effective from 2018 through

                                                6
USCA4 Appeal: 23-1059    Doc: 62      Filed: 03/31/2023   Pg: 15 of 68




        2024. Decision 1 (JA 1326). That Master Contract, like past Master

        Contracts, contains numerous provisions related to container handling.

        Article VII, Section 7 of the contract was first added in the 2013-2018

        Master Contract. It provides:

            (a) USMX and the ILA shall conduct a study to determine how the
                business model currently used by port authorities in the Ports of
                Charleston, SC, Savannah, GA, and Wilmington, NC could be
                altered to permit work currently performed by state employees to
                be performed by Master Contract-bargaining-unit employees in a
                more productive, efficient and competitive fashion. USMX and the
                ILA will use this study to meet with these port authorities in an
                effort to convince them to employ Master Contract-bargaining-unit
                employees.

            (b) USMX agrees to formally notify any port authority contemplating
                the development of or intending to develop a new container
                handling facility that USMX members may be prohibited from
                using that new facility if the work at that facility is not performed
                by Master Contract-bargaining-unit employees. 1

        Decision 1 (quoting Master Contract, Art. VII, Section 7) (JA 1326).




        1 The Master Contract’s appendix also includes a “Containerization
        Agreement” in which the parties “recognize the existing work jurisdiction
        of ILA employees covered by their agreements with the ILA over all
        container work which historically has been performed by longshoreman
        and all other ILA crafts at container waterfront facilities. Carriers, direct
        employers and their agents covered by such agreements agree to employ
        employees covered by their agreements to perform such work….”
        Decision 2 (quoting Containerization Agreement) (JA 1327).


                                               7
USCA4 Appeal: 23-1059   Doc: 62     Filed: 03/31/2023   Pg: 16 of 68




              SCSPA is an instrumentality of the State of South Carolina.

        Decision 2 (JA 1327). It has operated the Port of Charleston for roughly

        50 years. SCSPA enters into contracts with numerous USMX carrier-

        members to provide services at the Port’s waterfront container-handling

        facilities. Neither the State of South Carolina nor SCSPA has ever been

        party to a Master Contract or any other ILA agreement covering the Port.

        Id. (JA 1327). Indeed, in 1969, the South Carolina legislature passed a

        Concurrent Resolution stating that there is “no constitutional or

        statutory authority permitting the State, its subdivisions, agencies or

        institutions to bargain collectively with their employees.” McNair Resol.

        H 1636, 98th Gen. Assemb., 1st Sess., 1969 S.C. S.J. 826 (Apr. 30, 1969).

        See also Decision 2. (JA 1327) (“a 1969 State law prohibits state

        employees from organizing and joining unions”).

              In operating the Port of Charleston, accordingly, SCSPA has for

        decades used what is known as a hybrid division of labor. Id. (JA 1327).

        SCSPA uses state employees to “operate state-owned lift equipment to

        load and unload container ships that call at” the Port’s Terminals. Id. (JA

        1327). “ILA-represented employees perform the remainder of the

        longshore work at the [P]ort.” Id. (JA 1327). As the ALJ described:



                                             8
USCA4 Appeal: 23-1059   Doc: 62     Filed: 03/31/2023   Pg: 17 of 68




                   Specifically, the state employees operate SCSPA’s
                   ship-to-shore cranes to unload containers from
                   incoming cargo ships and place them onto trucks,
                   which transport the containers to a designated
                   stack location in the Port’s container yard. There,
                   other state employees operate SCSPA’s lift
                   machines … to unload the containers and place
                   them in a stack for pickup and delivery. The
                   remaining work—the loading and unloading of
                   ships, the lashing and unlashing of containers,
                   container spotting, securing containers on the
                   ships, etc. (referred to as stevedoring work)—is
                   performed by Local 1422 members.

        ALJ Decision 19 (JA 1344) (citations omitted). Overall, “[t]here are

        approximately 270 state employees and over 2,000 ILA members working

        on the terminals at the Port of Charleston.” Id. (JA 1344). This same

        hybrid model is also used at the ports in Wilmington, North Carolina and

        Savannah, Georgia. Id. n.10 (JA 1344).

              ILA has long taken the position that the purpose of Article 7,

        Section 7 of the Master Contract is to “contain the hybrid operating model

        to those existing terminals where it was used,” and to forbid USMX

        carrier-members to “call on any new terminal where the container work

        was not all performed by ILA unit members, regardless of the port.” ALJ

        Decision 20 (JA 1345). ILA Vice President Kenny Riley is quoted in a

        book published in 2020, as stating:



                                              9
USCA4 Appeal: 23-1059   Doc: 62     Filed: 03/31/2023   Pg: 18 of 68




                   The port can build whatever terminals it wants,
                   and it can put in the most expensive cranes and
                   infrastructure it wants at any terminal it wants,
                   but if no ships call on that terminal, then it just
                   got a brand-new terminal with nothing there…if
                   there are any new terminals built, and if they are
                   not in compliance with the [Master Contract], the
                   ships will not call on those facilities.”

        Decision 4 & n.11 (quoting Kenny Riley and Black Union Labor Power in

        the Port of Charleston) (JA 1329).

              In 2020, after years of planning, permitting, investment and

        construction, 2 SCSPA announced that it would open an additional

        terminal at the Port, the $1.5 billion Hugh K. Leatherman, Sr. Terminal.

        Decision 2 (JA 1327). SCSPA stated that the new Terminal would operate

        under the hybrid model used at the Port’s other terminals. Id. (JA 1327).

              In response, USMX Chief Executive Officer David Adam wrote to

        SCSPA President and Chief Executive Officer James Newsome:

        “[P]ursuant to Article VII, Section 7(b) of the [Master Contract] … USMX

        employer-members may be prohibited from using the new facility being

        developed … at [the Port] if the work at that facility is not performed by

        Master Contract bargaining-unit employees.” Id. (JA 1327) (quoting June



        2See Transcript of NLRB Hearing (“Tr.”) 42, 71, 271 (JA 52, JA 81, JA
        282).

                                             10
USCA4 Appeal: 23-1059   Doc: 62     Filed: 03/31/2023   Pg: 19 of 68




        2020 Letter from D. Adam to J. Newsome). Other USMX carrier-

        members sent similar letters to SCSPA. Id. (JA 1327).

              Thereafter, USMX, SCSPA, ILA and State representatives met

        regularly but were unable to reach agreement about the performance of

        work at Leatherman Terminal. Id. (JA 1327). In addition, throughout

        August and September 2020, SCSPA CEO Newsome communicated with

        representatives of USMX carrier-members about SCSPA’s plan to

        operate Leatherman Terminal under the same decades-old hybrid model

        historically employed at the Port. “Several representatives questioned, or

        expressed concern over, whether ILA had agreed to the use of that

        operating model, and some made references to Article VII, Section 7 of

        the Master Contract.” ALJ Decision 21 (JA 1346).

              On January 6, 2021, SCSPA CEO Newsome and ILA Vice-President

        Riley participated in a call with South Carolina lawmakers and others to

        discuss Leatherman Terminal. Id. (JA 1346). “Riley stated [that] ILA and

        Local 1422 were interested in consuming all the jobs at the Leatherman

        Terminal.” Id. (JA 1346). Although SCSPA “wanted the dispute resolved

        through arbitration, . . . neither ILA nor USMX expressed a willingness

        to do so.” Id. (JA 1346).



                                            11
USCA4 Appeal: 23-1059   Doc: 62      Filed: 03/31/2023   Pg: 20 of 68




              On January 6 and 7, 2021, South Carolina and SCSPA filed with

        the NLRB unfair labor practice charges against ILA, its Local 1422, and

        USMX, asserting that Article 7, Section 7 of the Master Contract violated

        section 8(e) of the NLRA. Decision 3 (JA 1328). On March 17, the NLRB

        General Counsel, finding merit in the charges, issued a complaint. Id.

        (JA 1328).

              Thereafter, on March 18, 2021, ILA, Local 1422, and USMX agreed

        in writing not to enforce Section 7(b) of the Master Contract until the

        resolution of the unfair labor practice charges. Id. n.7 (JA 1328).

              On March 30, 2021, SCSPA began operations at the Leatherman

        Terminal using the hybrid labor model. Id. (JA 1328). On April 9, USMX

        carrier member Hapag-Lloyd called at the new Terminal. Id. (JA 1328).

              On April 22, 2021, despite its agreement not to enforce Section 7(b)

        of the Master Contract during the pendency of the NLRB proceeding, ILA

        filed a lawsuit against USMX and Hapag-Lloyd in New Jersey State

        court, where ILA and USMX are incorporated. Id. (JA 1328). On April 21,

        USMX carrier member Orient Overseas Container Line Ltd. called at

        Leatherman Terminal, and ILA added it as a defendant to the New

        Jersey lawsuit. Id. (JA 1328).



                                             12
USCA4 Appeal: 23-1059   Doc: 62      Filed: 03/31/2023   Pg: 21 of 68




              In that lawsuit, which was subsequently removed to federal court,

        ILA alleged that USMX and its carrier-members breached Article I,

        Section 3 of the Master Contract and portions of the Containerization

        Agreement, and committed tortious interference with contract, tortious

        interference with prospective economic advantage, and civil conspiracy,

        by calling at a marine terminal that employs non-bargaining unit

        employees. Id. (JA 1328). As amended, the complaint seeks $300 million

        in damages, plus attorneys’ fees, interest, and costs. Id. (JA 1328).

              In response, the State, SCSPA, and USMX filed a second set of

        unfair labor practice charges with the Board, this time alleging violations

        of sections 8(b)(4)(ii)(A) and (B) and 8(e), on the ground that ILA had filed

        its lawsuit to coerce USMX and its carrier-members to cease doing

        business at Leatherman Terminal in order to force SCSPA to use ILA-

        represented employees to perform the lift-equipment work currently

        performed by state employees, and to enforce an illegal interpretation of

        the Master Contract. Decision 3 (JA 1328).

              In the two weeks following the ILA lawsuit, at least five additional

        USMX carrier-members contacted SCSPA demanding that they be

        assigned to Wando Terminal, not Leatherman Terminal. Id. (JA 1328).



                                             13
USCA4 Appeal: 23-1059   Doc: 62     Filed: 03/31/2023   Pg: 22 of 68




        One of these carriers threatened to redirect its vessels to the Port of

        Savannah if assigned to Leatherman Terminal. Id. (JA 1328). Within the

        next month, SCSPA diverted 12 vessels of USMX carrier members to

        Wando Terminal, and USMX carrier members ceased calling at

        Leatherman Terminal. Id. (JA 1328).

        II.   Procedural History

              As stated above, on January 6 and 7, 2021, the State and SCSPA

        first filed unfair labor practices against ILA, its Local 1422, and USMX

        alleging that Section 7 of the Master Contract violated section 8(e) of the

        NLRA. Supra at 11-12. On March 17, the NLRB General Counsel issued

        a complaint. Id.

              On April 22, 2021, after Leatherman Terminal began operations

        and a USMX carrier member called there, ILA filed a lawsuit against

        USMX and the carrier in New Jersey Superior Court, alleging breach of

        the Master Contract (without mentioning Article 7, Section 7) and

        several tort claims, and seeking $300 million in damages along with

        attorneys’ fees, interest and costs. USMX removed that case to the United

        States District Court for the District of New Jersey, and it was stayed for

        the pendency of the NLRB proceedings. ALJ Decision 22 (JA 1347).



                                            14
USCA4 Appeal: 23-1059   Doc: 62     Filed: 03/31/2023   Pg: 23 of 68




              On April 26, South Carolina, SCSPA, and USMX filed additional

        unfair labor practice charges against ILA under sections 8(b)(4)(ii)(A) and

        (B) and 8(e), alleging that the ILA lawsuit had the unlawful objective of

        forcing USMX to cease doing business at Leatherman Terminal to coerce

        SCSPA to use ILA-represented employees to do the lift-equipment work

        there, and to enforce an illegal interpretation of the Master Contract.

        Supra at 12. On May 19, the NLRB General Counsel issued a second

        complaint on these allegations. Id.

              On May 21, the two sets of unfair labor practice charges were

        consolidated for hearing before the Board’s ALJ. Decision 3 n.8 (JA 1328).

        The complaints were tried together from June 9-10, 2021. ALJ Decision

        17 (JA 1342).

        III. Rulings On Review

              A.   ALJ Decision

              The ALJ held that the Master Contract does not violate section 8(e).

        He first held that Article 7, Section 7(b) “is not clearly unlawful on its

        face,” because it “does not require USMX or its carrier-members to

        boycott the Leatherman Terminal or to cease doing business with SCSPA

        or any other employer or person.” ALJ Decision 24 (JA 1349). It only

        requires the carrier-member to notify the port that USMX members

                                              15
USCA4 Appeal: 23-1059   Doc: 62     Filed: 03/31/2023   Pg: 24 of 68




        “‘may be prohibited’ from using the facility if the work there is not

        performed by bargaining-unit employees.” Id. (JA 1349).

              The ALJ further found that use of the word “may” did not make

        that agreement ambiguous; and that, even if it were ambiguous, the

        “extrinsic evidence d[id] not establish [that] the parties agreed to

        administer the provision in an unlawful manner.” Id. at 25 (JA 1350).

        The ALJ also rejected the alternative argument that between June 2020

        and January 2021, the parties “made statements reflecting an (implied)

        agreement to interpret and apply [Section 7(b)] in a manner that violated

        Section 8(e).” Id. (JA 1350). He observed that where a provision is not

        facially unlawful, any subsequent agreement to enforce the provision in

        a manner that violates section 8(e) must be “bilateral,” and that USMX

        and ILA did not agree on its interpretation. Id. (JA 1350). He then found

        that while ILA representatives’ statements “clearly show ILA and Local

        1422 wanted, and claimed the right, to perform all container work at the

        Leatherman Terminal[,] USMX … did not agree.” Id. (JA 1350).

              With respect to the second set of unfair labor practice charges,

        however, the ALJ found that ILA’s lawsuit against USMX and its

        member-carriers had an unlawful object—to use USMX and its carrier-



                                            16
USCA4 Appeal: 23-1059      Doc: 62      Filed: 03/31/2023   Pg: 25 of 68




        members to force SCSPA to give its lift-equipment jobs at Leatherman

        Terminal to ILA members. ALJ Decision 29 (JA 1354). See id. (JA 1354)

        (the ILA lawsuit was “a sword to achieve an unlawful secondary object,”

        the acquisition of work, in violation of sections 8(b)(4)(ii)(A) and (B) and

        8(e)).

                 The ALJ first observed that “a condition precedent to finding a

        lawful work preservation object is evidence of an actual or anticipated

        threat to unit jobs.” Id. (JA 1354) (citing cases). He concluded that in this

        case “there is no evidence of any actual or anticipated threat to unit work,

        only vague speculation.” Id. (JA 1354). The Judge explained that

        evidence showed “Charleston is primarily a regional port,” and that there

        was no evidence that “work might migrate from ILA-controlled ports to

        Charleston.” Id. (JA 1354).

                 Thereafter, the ALJ found that “[w]hat is not lacking is the evidence

        of ILA’s desire to obtain all the container work at the Leatherman

        Terminal, as well as at any future container-handling facilities.” Id. (JA

        1354) (emphasis supplied). He cited numerous statements by ILA

        representatives, including those quoted above. Id. (JA 1354). After

        describing the evidence, the ALJ held that “ILA’s object for its lawsuit



                                                17
USCA4 Appeal: 23-1059   Doc: 62       Filed: 03/31/2023   Pg: 26 of 68




        against USMX and its carrier-members was work acquisition, not work

        preservation,” and further that “ILA filed its lawsuit with the object of

        forcing USMX and its carrier-members to agree that facially valid

        provisions [of the Master Contract and Containerization Agreement]

        prohibited them from calling on the Leatherman Terminal unless

        bargaining-unit members performed all container work, including the

        lift-equipment work, in violation of Section 8(b)(4)(ii)(A) and 8(e).” Id. (JA

        1354-1355).

              B.    The Board Decision

              The Board affirmed the ALJ’s decision that the Master Contract did

        not violate section 8(e) of the NLRA for the reasons stated by the ALJ.

        Decision 3 (JA 1328). However, the Board reversed the ALJ’s decision

        that ILA filed its lawsuit against USMX and its carrier-members in

        violation of section 8(b)(4)(ii)(A) and (B) and section 8(e).

              The Board first noted that a lawsuit constitutes an unfair labor

        practice only when it is either “objectively baseless and retaliatory” or

        when it “has an objective that is illegal under federal law.” Decision 4-5

        (quoting Bill Johnson’s Rests., Inc., 461 U.S. at 737 n.5) (JA 1329-1330).

        The Board found that the lawsuit did not seek to acquire work at the



                                              18
USCA4 Appeal: 23-1059   Doc: 62      Filed: 03/31/2023   Pg: 27 of 68




        Port, but instead had a “lawful work preservation” objective. Decision 5

        (JA 1330). The Board quoted the Supreme Court’s test for determining

        whether conduct is lawful work preservation or unlawful secondary

        activity to acquire non-bargaining unit work:

                   The touchstone is whether the agreement or its
                   maintenance is addressed to the labor relations of
                   the contracting employer vis-à-vis his own
                   employees. Under this approach, a lawful work
                   preservation agreement must pass two tests: First,
                   it must have as it objective the preservation of
                   work traditionally performed by employees
                   represented by the union. Second, the contracting
                   employer must have the power to give the
                   employees the work in question—the so-called
                   ‘right of control test’. … The rationale of the second
                   test is that if the contracting employer has no
                   power to assign the work, it is reasonable to infer
                   that the agreement has a secondary objective, that
                   is, to influence whoever does have such power over
                   the work.

        Decision 6 (quoting NLRB v. ILA, 447 U.S. 490, 504-05 (1980)) (JA 1331).

              The Board first disagreed with the ALJ’s determination that the

        ILA’s objective in filing the lawsuit was to acquire work it had not

        traditionally performed—the lift-equipment jobs at the Port that state

        employees had filled for almost 50 years. The Board found that the

        collective bargaining agreement covered a coast-wide unit, and that ILA

        was “seeking to preserve the traditional work and the jobs of unit


                                             19
USCA4 Appeal: 23-1059    Doc: 62    Filed: 03/31/2023   Pg: 28 of 68




        employees in the face of the technological advances affecting the coastal

        units, including such changes as the new Leatherman Terminal.”

        Decision 7 (JA 1332).

              The Board also found that USMX and its carrier-members “have

        sufficient control over the work in question—the loading or unloading of

        containers they own or lease”—for ILA to invoke the work-preservation

        doctrine. Id. (JA 1332). The Board acknowledged that “SCSPA has sole

        authority to decide which terminals at the Port of Charleston USMX

        carriers call on, as well as who performs loading and unloading work at

        those terminals using state-owned lift equipment.” Id. (JA 1332). But the

        Board nonetheless believed that because USMX carrier-members “have

        the authority to bypass the Port of Charleston and call on other ports

        where ILA-represented employees perform all loading and unloading

        work,” that ability gives USMX and its carrier-members “the right to

        control who performs loading and unloading work of their containers.”

        Id. (JA 1332).

              Finally, the Board rejected what it called the ALJ’s “apparent

        finding that a valid work preservation object requires a showing that ILA

        would lose jobs at the port or that the hybrid union-to-nonunion employee



                                            20
USCA4 Appeal: 23-1059   Doc: 62      Filed: 03/31/2023   Pg: 29 of 68




        ratio would widen if business at the port expanded.” Decision 8 (JA 1333).

        The Board stated that “[t]o the extent that a showing of job loss or threat

        thereof is required, it has been satisfied by the history of containerization

        and its effect on the number of longshoremen.” Id. (JA 1333). Further,

        the Board stated, “[t]o the extent that the judge believed that a showing

        of job loss at the Port of Charleston was required, we have found instead

        that a coast-wide examination is appropriate.” Id. (alterations omitted)

        (JA 1333).

              C.     Board Dissent

              Member Ring dissented from the Board’s reversal of the ALJ’s

        decision that the ILA lawsuit had an unlawful objective. He first noted

        that “SCSPA is not, and never has been, a party to the Master Contract

        (or any other labor agreement) with the ILA. And despite the ILA’s

        contractual claim to all container work along the East and Gulf Coasts,

        for nearly 50 years the SCSPA, with the ILA’s acquiescence has used a

        ‘hybrid’ operating model at the Port’s North Charleston and Wando

        Welch Terminals.” Dissent 8-9 (JA 1333-1334). He thus concluded that

        “even assuming arguendo that the ILA’s lawsuit has as its objective the

        preservation of work traditionally performed by the ILA …, the work in



                                             21
USCA4 Appeal: 23-1059   Doc: 62     Filed: 03/31/2023   Pg: 30 of 68




        question is the operation of the lift-equipment work at the Leatherman

        Terminal, and USMX and its carrier-members do not have the power to

        give that work to ILA-represented employees.” Dissent 9 (JA 1334). As

        Member Ring explained,

                   [It is] SCSPA [that] has that power, and therefore
                   ILA’s dispute is with the SCSPA. USMX and its
                   carrier-members are secondary or neutral
                   employers in the dispute, and ILA filed and is
                   maintaining its lawsuit against USMX and the
                   carrier-members for an unlawful secondary
                   objective of forcing USMX and its carrier-members
                   to cease doing business with the SCSPA at the
                   Leatherman Terminal in order to pressure the
                   SCSPA to assign the lift-equipment work there to
                   ILA-represented employees.

        Dissent 9 (JA 1334). See id. at 14 (“The State owns the lift equipment at

        the Leatherman Terminal, and the State, through the SCSPA, has the

        exclusive power to assign the operation of that equipment.”) (JA 1339).

              The dissent rejected the Board’s conclusion that USMX carriers had

        control over the work because they could have chosen to call at other

        ports, rather than at Charleston, stating:

                   to find the ILA’s lawsuit lawful because a carrier
                   may “bypass” a port where, and because, the
                   SCSPA controls the lift-equipment work and
                   assigns it to state employees is just another way of
                   saying that the lawsuit is lawful because the
                   carrier may cease doing business at that port. But


                                            22
USCA4 Appeal: 23-1059   Doc: 62     Filed: 03/31/2023   Pg: 31 of 68




                   the gravamen of the 8(b)(4)(ii)(B) allegation at
                   issue here is precisely that the ILA, in bringing its
                   lawsuit, has that very object—i.e., an object of
                   foreign carriers to cease doing business with the
                   SCSPA. In effect, my colleagues find the ILA’s
                   lawsuit lawful to the extent it succeeds in
                   accomplishing its unlawful object!

        Dissent 15 (JA 1340).

              Further, Member Ring explained that the Board’s decision was at

        odds with the Supreme Court’s decision in Pipefitters. The subcontractor

        in that case could have simply declined the job at issue there and worked

        only on projects where the general contractor did not require it to install

        pre-cut and pre-threaded pipe, and instead used union-represented

        employees to cut and thread the pipe. But “the subcontractor in

        Pipefitters was found not to have the right to control the work in

        question,” and thus the union’s pressure on the subcontractor was

        secondary and unlawful because the union’s real or primary dispute was

        with the contractor. Id. (JA 1340). The dissent concluded that this

        precisely mirrors the situation here.

              Finally, Member Ring rejected the Board’s conclusion that the ILA

        was seeking “to preserve the traditional work of its members ‘in the face

        of technological advances.’” Dissent 16 (JA 1341). Here, there was no



                                            23
USCA4 Appeal: 23-1059   Doc: 62     Filed: 03/31/2023   Pg: 32 of 68




        technological advance that requires “a creative definition of the work in

        question in order to preserve a union’s traditional work.” Id. (JA 1341).

        Instead, he explained:

                   [This is] a simple case of the ILA seeking to acquire
                   more lift-equipment work. It cannot do so directly,
                   as it has no relationship with the entity that
                   indisputably controls that work at the
                   Leatherman Terminal. So it seeks to do so by
                   secondary means, by filing and maintaining a
                   lawsuit–claiming shock-and-awe damages—in
                   order to scare USMX’s carrier-members away from
                   that terminal until the SCSPA takes that lift-
                   equipment work away from the state employees
                   and gives it to the ILA.

        Id. (JA 1341). As Member Ring concluded, “You could not ask for a more

        classic case of unlawful secondary pressure. Id. (JA 1341).

                             SUMMARY OF ARGUMENT

              Under section 8(b)(4)(ii)(B) of the NLRA, it is an unfair labor

        practice for a union “to threaten, coerce, or restrain any person engaged

        in commerce,” where “an object” of the union’s coercive conduct is to force

        that person to “cease doing business with any other person.” 29 U.S.C.

        § 158(b)(4)(ii)(B). It is also unlawful for a union to enforce and maintain

        contract provisions with that same illegal object. Id. §§ 158(b)(4)(ii)(A)

        and 8(e). Thus, a union may directly pressure the employer with whom



                                            24
USCA4 Appeal: 23-1059   Doc: 62     Filed: 03/31/2023   Pg: 33 of 68




        the union has a dispute, see Nat’l Woodwork Mfrs. Ass’n, 386 U.S. at 643-

        44; but may not coerce neutral employers to put indirect pressure on that

        primary employer. Doing so constitutes unlawful secondary activity.

              In 2022, SCSPA opened an additional terminal at the Port of

        Charleston, Leatherman Terminal. As it had done for decades, and as

        was its practice at all Port terminals, SCSPA used state employees to

        operate the State-owned lift equipment at Leatherman Terminal. ILA

        responded by filing a lawsuit seeking $300 million in damages, not

        against SCSPA, but instead against USMX and two of its carrier-

        members. The lawsuit alleged that USMX and its carrier-members were

        violating the Master Contract between ILA and USMX by calling at

        Leatherman Terminal, because SCSPA used state employees for the lift-

        equipment work there. The objective of the lawsuit was achieved: USMX

        carrier-members stopped calling at Leatherman Terminal.

              ILA’s lawsuit thus has an “objective that is illegal under federal

        law.” Bill Johnson’s Rests., 461 U.S. at 737 n.5. The union’s dispute is

        with SCSPA, but the lawsuit pressures USMX and its carrier-members

        to cease doing business at Leatherman Terminal unless and until ILA




                                            25
USCA4 Appeal: 23-1059   Doc: 62      Filed: 03/31/2023   Pg: 34 of 68




        members are assigned to perform the lift-equipment work. This is classic

        unlawful secondary activity that violates the NLRA. See Part I.A.

              The NLRB, however, held that ILA’s lawsuit had a lawful work-

        preservation purpose. Decision 6 (JA 1331). But to establish a work-

        preservation defense, a union must show both that its objective was to

        preserve bargaining-unit work and that its coercion was directed at the

        person controlling the work assignment. ILA II, 473 U.S. at 77;

        Marrowbone Dev. Co., 147 F.3d at 303. In Part I.B, SCSPA demonstrates

        that ILA failed to satisfy either requirement.

              Specifically, it is undisputed that during the five decades the Port

        has operated, ILA members have never performed the lift-equipment

        work and SCSPA has never been party to the Master Contract or any

        collective bargaining agreement with ILA. Thus, ILA’s lawsuit sought to

        obtain work that the bargaining unit members had never performed. See

        Part I.B.1. Moreover, the lawsuit against USMX and its carrier-members

        was filed to obtain jobs—the lift-equipment jobs at Leatherman—that

        SCSPA controlled. See Decision 7 (JA 1332) (SCSPA “indisputably

        controls” assignment of the Port’s lift-equipment jobs). See Part I.B.2. For

        each of these independent reasons, under established precedent of this



                                             26
USCA4 Appeal: 23-1059   Doc: 62      Filed: 03/31/2023   Pg: 35 of 68




        Court and the U.S. Supreme Court, ILA has no work-preservation

        defense.

              In Part II, SCSPA shows that the Board incorrectly held that the

        Master Contract does not violate section 8(e) of the NLRA. In entering

        into the Master Contract, ILA and USMX made an agreement that was

        “tactically calculated to satisfy union objectives elsewhere,” specifically,

        ILA’s oft-expressed objective to obtain the lift-equipment work at new

        terminals at Charleston. See Nat’l Woodwork Mfrs., 386 U.S. at 644-45.

        The overwhelming record evidence reflects the ILA’s and USMX’s implied

        agreement that USMX carrier-members will not call at new container-

        handling facilities unless they use ILA members for all work that ILA

        members perform at other ports.

                                      ARGUMENT

                                  STANDARD OF REVIEW

              This Court will uphold the NLRB’s “legal interpretations” only if

        they “are rational and consistent with the Act.” Tecnocap, LLC v. NLRB,

        1 F.4th 304, 313 (4th Cir. 2021) (quoting Media Gen. Operations, Inc. v.

        NLRB, 394 F.3d 207, 211 (4th Cir. 2005)). This Court has held that

        “courts decide and review de novo” the question whether a “collective-




                                             27
USCA4 Appeal: 23-1059   Doc: 62      Filed: 03/31/2023   Pg: 36 of 68




        bargaining agreement violates § 8(e).” Marrowbone Dev. Co., 147 F.3d at

        300.

               This Court will uphold the NLRB’s findings of fact “‘if they are

        supported by substantial evidence,’ considering the record as a whole.

        Tecnocap, 1 F.4th at 312 (citing Dorsey Trailers, Inc. v. NLRB, 233 F.3d

        831, 838 (4th Cir. 2000)). “Substantial evidence is ‘such relevant evidence

        as a reasonable mind might accept as adequate to support a conclusion.’”

        NLRB v. Air Contact Transp. Inc., 403 F.3d 206, 210 (4th Cir. 2005).

        Although the Board may “draw reasonable inferences from the evidence,”

        it “may not base its inference on pure speculation.” Tecnocap, 1 F.4th at

        313 (quoting Owens-Corning Fiberglas Corp. v. NLRB, 407 F.2d 1357,

        1362 (4th Cir. 1969)).

        I.     ILA’s Lawsuit Violates Sections 8(b)(4)(ii)(A) And (B) And
               8(e) Of The NLRA

               A.   ILA’s Lawsuit Has An Illegal Object

               Where, as here, a union files a lawsuit that “has an objective that

        is illegal under” the NLRA, that action constitutes an unfair labor

        practice. Bill Johnson’s Rests., 461 U.S. at 737 n.5. See also BE & K

        Constr. Co. v. NLRB, 536 U.S. 516, 526 (2002). ILA’s lawsuit plainly had

        an unlawful object: coercing USMX and its carrier-members to cease


                                             28
USCA4 Appeal: 23-1059   Doc: 62     Filed: 03/31/2023   Pg: 37 of 68




        doing business with SCSPA at Leatherman Terminal and to enforce an

        agreement with USMX and its carrier-members requiring them to cease

        doing business with SCSPA.

              Specifically, section 8(b)(4)(ii) of the NLRA provides that it is an

        unfair labor practice for a union “to threaten, coerce, or restrain any

        person engaged in commerce,” where “an object” of the union’s coercive

        conduct is to force a person “to cease doing business with any other

        person.” 29 U.S.C. § 158(b)(4)(ii). That provision does not prohibit

        “primary” activity, which is activity that directly pressures the employer

        with whom the union has a dispute. Nat’l Woodwork Mfrs., 386 U.S. at

        643-44. Instead, it prohibits “secondary activity,” which is any coercive

        activity directed at a neutral employer in order to put indirect pressure

        on a different entity. Id.. See also Pipefitters, 429 U.S. at 511. As

        numerous courts have recognized, sections 8(b)(4)(ii)(A) and (B) and 8(e)’s

        prohibitions on secondary activity serve “dual congressional objectives of

        preserving the right of labor organizations to bring pressure to bear on

        offending employers in primary labor disputes and of shielding

        unoffending employers and others from pressures and controversies not




                                            29
USCA4 Appeal: 23-1059   Doc: 62      Filed: 03/31/2023   Pg: 38 of 68




        their own.” Sheet Metal Workers’ Int’l Ass’n v. NLRB, 989 F.2d 515, 519

        (D.C. Cir. 1993).

              Though ILA has no bargaining relationship with SCSPA, it has a

        dispute with SCSPA; it seeks the lift-equipment jobs SCSPA assigns to

        state employees at Leatherman Terminal for ILA members. To achieve

        that objective, ILA filed a lawsuit, not against SCSPA, but against USMX

        and its carrier-members, coercing them to cease calling at Leatherman

        Terminal until SCSPA assigns the lift-equipment jobs to its members.

        Thus, ILA is coercing a secondary employer—one neutral in its dispute

        with SCSPA—to cease doing business with SCSPA, the primary

        employer with which ILA has a dispute. This is a clear violation of section

        8(b)(4)(ii)(B). ILA also seeks to enforce an unlawful interpretation of the

        Master Contract, violating sections 8(b)(ii)(A) and 8(e).

              ILA contends, however, and the Board found, that its lawsuit

        against USMX and its carrier-members was protected by the work-

        preservation defense. As a matter of law, however, ILA failed to meet the

        requirements for application of that defense.




                                             30
USCA4 Appeal: 23-1059   Doc: 62      Filed: 03/31/2023   Pg: 39 of 68




              B.   The NLRB’s Decision That ILA’s Lawsuit Had A
                   Lawful Work-Preservation Object Is Wrong As A
                   Matter of Law

              To be shielded by the work-preservation defense, a union’s coercive

        activity must satisfy two conditions: (1) its activity must be “conducted

        for the sole purpose of preserving traditional unit work,” Loc. 644, United

        Bhd. of Carpenters & Joiners of Am. v. NLRB, 533 F.2d 1136, 1147 (D.C.

        Cir. 1975); and (2) the “contracting employer must have the power to give

        the employees the work in question—the so-called ‘right of control’ test,”

        NLRB v. Int’l Longshoremen’s Ass’n, 447 U.S. 490, 504 (1980) (“ILA I”).

        Put differently, a union violates section 8(b)(4)(B) when its goal is “to

        acquire completely new jobs or to benefit [non-bargaining unit]

        employees.” Cal. Cartage Co. v. NLRB, 822 F.2d 1203, 1207 (D.C. Cir.

        1987) (citations omitted). See also Loc. 644, United Bhd. of Carpenters,

        533 F.2d at 1147 (expansion of bargaining unit membership is an

        unlawful secondary objective). And even union activity undertaken to

        preserve traditional work violates section 8(b)(4)(B) if it is directed at a

        party without control over the assignment of that work. ILA II, 473 U.S.




                                             31
USCA4 Appeal: 23-1059     Doc: 62   Filed: 03/31/2023   Pg: 40 of 68




        at 77. ILA’s lawsuit satisfies neither prerequisite for the work-

        preservation defense.

                     1.    The Lawsuit’s Object Was Job Acquisition, Not
                           Job Preservation

              On the undisputed facts in this record, ILA did not seek to preserve

        work its members traditionally had performed. In fact, ILA seeks to

        acquire new work—specifically, the lift-equipment jobs at the Port’s

        Leatherman Terminal that are and have been performed by state

        employees for decades.

              Under the work-preservation rule, a labor organization may use

        coercive activities as a “shield to preserve the jobs” of employees in the

        bargaining unit, but it may not engage in such activities as a sword

        wielded “to reach out to monopolize jobs or acquire new job tasks when

        their own jobs are not threatened” by the employer being coerced. Nat’l

        Woodwork Mfrs., 386 U.S. at 630-31 (emphasis supplied). See also ILA I,

        447 U.S. at 507 (“to determine whether an agreement seeks no more than

        to preserve the work of bargaining-unit members, the Board must focus

        on the work on the bargaining unit employees, not on the work of other

        employees who may be doing the same or similar work”) (emphasis

        supplied).


                                            32
USCA4 Appeal: 23-1059   Doc: 62     Filed: 03/31/2023   Pg: 41 of 68




              It is undisputed that ILA-represented employees have never

        performed the lift-equipment work at any terminal of the Port of

        Charleston. For almost 50 years, that work has been performed by state

        employees. See supra at 7-9. SCSPA is not a member of USMX; it has

        never had a collective bargaining agreement with ILA and its employees

        have never been represented by ILA or an ILA local. Indeed, ILA accepted

        SCSPA’s assignment of the lift-equipment work to state employees

        throughout this period. This consistent history at the Port of Charleston

        shows that ILA did not have a legitimate work-preservation purpose

        here, but instead sought to acquire new jobs by coercing neutral

        employers (USMX and its carrier-members) to refuse to do business with

        SCSPA until SCSPA somehow replaces state employees with ILA-

        represented employees.

              This Court considered a closely analogous argument in Marrowbone

        Development Co., 147 F.3d at 297. There, the union raised a work-

        preservation defense to a violation of section 8(e), and this Court held

        that application of the union’s national collective-bargaining agreement

        to a new bargaining unit violated that provision, because the work at




                                            33
USCA4 Appeal: 23-1059   Doc: 62      Filed: 03/31/2023   Pg: 42 of 68




        issue had not historically been performed in the local bargaining unit. As

        the Court explained:

                   To determine whether the agreement before us
                   preserves or acquires work for the bargaining
                   unit—that is, whether the work at issue was
                   traditionally done by the employees before the
                   agreement—we must determine which group of
                   employees is the relevant group for comparison.
                   …. Specifically, in the case of a newly formed local
                   union, we must decide whether to compare the
                   contract’s work jurisdiction with the jobs
                   historically done by the employees who are now
                   members of the local, or with the jobs generally
                   done by the union’s other employees throughout
                   all of its locals.

        147 F.3d at 302.

              This Court held that the “appropriate group for comparison is the

        group of employees constituting Local 93, not the members of the

        [union’s] other locals.” Id. It explained that “the basic premise [of section

        8(e)] is to keep labor disputes within the bounds of the employer-

        employee relationship,” and that section 8(e) “evinces a preference for

        comparing only the jobs of the particular employer’s employees directly

        affected by the dispute, and not all job descriptions represented in all of

        a union’s various locals.” Id. at 302-03. See also id. at 303 (citing Nat’l

        Woodwork Mfrs., 386 U.S. at 635 (inquiry is “to determine whether an



                                             34
USCA4 Appeal: 23-1059   Doc: 62     Filed: 03/31/2023   Pg: 43 of 68




        agreement seeks no more than to preserve the work of bargaining-unit

        members”)).

              Here, in finding that the lawsuit’s object was work preservation,

        the Board relied on the fact that the lift-equipment work at issue is the

        sort of work ILA members perform at other East and Gulf Coast container

        terminals. Decision 7 (JA 1332). From this, the Board concluded that the

        work-preservation provisions of the Master Contract are lawful and may

        lawfully be enforced against all employers. This is contrary to the law of

        this Circuit. The fact that ILA members have done lift-equipment work

        for some employers in their multi-employer bargaining unit does not

        license ILA to engage in coercive actions to obtain the lift-equipment

        work from any employer anywhere, including employers like SCSPA who

        are not members of the multi-employer bargaining unit and whose

        employees are not represented by ILA. See Marrowbone, 147 F.3d at 303.

              The Board also asserted that ILA had a work-preservation object

        because it was “seeking to preserve the traditional work of unit

        employees in the face of the technological advances affecting the coastal

        units, including work at the new Leatherman Terminal.” Decision 7 (JA

        1332). As the Board Dissent points out, however, the lift-equipment work



                                            35
USCA4 Appeal: 23-1059   Doc: 62     Filed: 03/31/2023   Pg: 44 of 68




        at Leatherman Terminal does not involve any technological change; it is

        the same work that state employees have performed at the Port for 50

        years. Dissent 16 (“It’s a simple case of the ILA seeking to acquire more

        lift-equipment work.”) (JA 1341).

              The ILA work-preservation cases cited by the Board arise in

        circumstances “when employees’ traditional work is displaced, or

        threatened with displacement, by technological innovation.” ILA I, 447

        U.S. at 505. In such cases, “[i]dentification of the work at issue . . .

        requires a careful analysis of the traditional work patterns that the

        parties are allegedly seeking to preserve, and of how the agreement seeks

        to accomplish that result under the changed circumstances created by

        the technological advance,” to ensure that the work-preservation

        agreement “seeks no more than to preserve the work of bargaining unit

        members.” Id. at 507. The Board’s opinion is devoid of any such careful

        analysis. Moreover, the Supreme Court has recognized that, where the

        “method of doing the work” has not changed, “the process of identifying

        the work at issue will require no subtle analysis” and the issue of work-

        preservation intent will be determined by whether the union members

        “had always done” the work at issue. Id. at 505.



                                            36
USCA4 Appeal: 23-1059   Doc: 62     Filed: 03/31/2023   Pg: 45 of 68




              This case is a clear example of the latter variety. No technological

        advance has occurred that has transformed one job into another. The lift-

        equipment work at the Port of Charleston has not changed materially for

        decades and has always been performed by SCSPA’s state employees.

        Thus, there is no new work involved that is the “functional equivalent” of

        work that ILA members may have traditionally performed at the Port of

        Charleston.

              Nor does this case involve a situation where the ILA workforce is

        genuinely threatened by “the banned . . . services,” here SCSPA’s

        continued use of state employees to perform the lift-equipment work.

        Nat’l Woodwork Mfrs., 386 U.S. at 644 n.38. The ILA’s cases involved a

        “massive technological change,” the advent of containerization, which

        “drastically reduced” work opportunities for longshoremen. ILA I, 447

        U.S. at 495, 509. In contrast, here the Port of Charleston would simply

        continue to use state employees in an additional Terminal in the same

        proportion and for the same jobs in which it uses state employees in two

        existing Terminals. As noted, the current number of ILA and state

        employees at the Port of Charleston is over 2000 and roughly 270,

        respectively. Thus, ILA-represented employees will continue to hold the



                                            37
USCA4 Appeal: 23-1059   Doc: 62      Filed: 03/31/2023   Pg: 46 of 68




        vast majority of the jobs—and all jobs traditionally occupied by ILA-

        represented employees—at the Port. The complete absence in this case of

        a genuine threat resulting from the new Terminal’s use of the existing

        hybrid model underlines that ILA has not acted with a legitimate work

        preservation motive. See, e.g., Kennedy ex rel. NLRB v. Sheet Metal

        Workers Int’l Union, 289 F. Supp. 65, 81 (C.D. Cal. 1968) (where union

        failed to show decrease in members’ employment, threat of displacement

        was remote and work preservation intent was lacking). 3

              The Board also asserts that in assessing work preservation, it

        focuses on the full East and Gulf Coast bargaining unit. Decision 8. As

        shown above, that focus is contrary to Supreme Court decisions and this

        Court’s decision in Marrowbone. SCSPA is not a member of the multi-


        3 The Board suggests that the impact of work-preservation agreements
        on third parties such as the Port and its employees is “immaterial,”
        Decision 7 (citing ILA II, 473 U.S. at 79) (JA 1332). Significantly,
        however, the Supreme Court qualified this point: “The effect of work
        preservation agreements on the employment opportunities of employees
        not represented by the union . . . is of course irrelevant to the validity of
        the agreement so long as the union had no forbidden secondary purpose
        to affect the employment relations of the neutral employer.” ILA I, 447 U.S.
        at 507 n.22 (citing Pipefitters, 429 U.S. at 510, 526 (emphasis supplied)).
        Where, as here, there is “proof of an attempt ‘not to preserve, but to
        aggrandize’” bargaining-unit jobs, an otherwise valid work-preservation
        agreement has an “unlawful secondary objective.” ILA II, 473 U.S. at 79
        (citing numerous cases).

                                             38
USCA4 Appeal: 23-1059   Doc: 62      Filed: 03/31/2023   Pg: 47 of 68




        employer bargaining unit and its employees are not in that unit. Thus,

        ILA’s lawsuit against USMX and its carrier-members seeks to acquire

        jobs outside of the bargaining unit traditionally performed by state

        employees; it cannot have a work preservation object.

              Moreover, even focusing on the East and Gulf Coasts as a whole

        (rather than solely on the Port of Charleston), ILA did not have a valid

        work-preservation purpose with regard to the lift-equipment work at the

        Leatherman Terminal. For decades while the Master Contract has been

        in effect on the Coasts, ILA has acquiesced in the Port of Charleston’s use

        of state employees to perform the lift-equipment work. And the Board did

        not accept ILA’s argument that if the hybrid model extends to

        Leatherman, USMX carriers will divert ships from ports in New York or

        New Jersey to Charleston. The Port of Charleston is “regional”: 30% of

        its cargo is consumed in the Charleston area, while the “great

        preponderance of [the remaining portion] is consumed in what we call the

        Upstate of South Carolina, which is the Greenville[-]Spartanburg area;

        that’s where the manufacturing facilities for BMW, Michelin, and other

        major accounts are.” Tr. 143 (JA 153). Only 20-25% of the cargo goes

        outside of South Carolina, and it generally arrives in nearby states such



                                             39
USCA4 Appeal: 23-1059   Doc: 62      Filed: 03/31/2023   Pg: 48 of 68




        as North Carolina, Tennessee, and Alabama. 4 See Decision 29

        (characterizing ILA argument of diversion as “vague speculation,”

        “without evidentiary support”) (JA 1347). Thus, history and practice

        under the Master Agreement—allowing the hybrid model at the Port of

        Charleston—itself refutes any suggestion that ILA’s lawsuit was

        intended to “preserve” lift-equipment work ILA members traditionally

        performed.

              The circumstances here are similar to those presented in Local 32B-

        32J Service Employees International Union v. NLRB, 68 F.3d 490, 492-

        93 (D.C. Cir. 1995). In that case, a union sought to apply a putative work-

        preservation agreement with a signatory employer outside of the

        bargaining unit. The union represented a superintendent and porter

        employed by a contractor (Nevins) in a building; Nevins subcontracted

        the cleaning work at the building to another entity, Golden, with which

        the union had a dispute. The union objected to Nevins’ subcontracting of




        4 See Tr. 143 (JA 153); id. at 134 (JA 144) (it is “extremely unlikely [that
        ships would divert to Charleston],” “because cargo moves based on the
        origins and destinations of cargo, which is largely governed by inland
        [costs]”).

                                             40
USCA4 Appeal: 23-1059   Doc: 62      Filed: 03/31/2023   Pg: 49 of 68




        the work to Golden and pressured Nevins to cease, claiming that its

        members were entitled to the cleaning work. Id. at 493.

              The court rejected that argument. It first observed that “Nevins’

        employees had never meaningfully done the cleaning work” at issue

        because Nevins had “always used outside, independent contractors for

        that task.” Id. at 494. The court also held that “the facial validity of the

        subcontracting clause does not excuse the [union’s] conduct where its

        application, as in this instance, would illegally extend the contract to

        reach outside the contractual bargaining unit” to Golden’s employees. Id.

        at 495 (citing Pipefitters, 429 U.S. at 517-18). “In sum,” the court

        concluded, “the [union’s] efforts to enforce its interpretation of the

        contract were intended not to preserve work (that it had never done), but

        to pressure Golden to change its labor policies.” Id. (emphases supplied).

              The parallels are evident. ILA members have “never meaningfully

        done” the lift-equipment work at Charleston, including at Leatherman

        Terminal. Thus, the union’s work-preservation provision “does not excuse

        the [union’s] conduct where its application . . . would illegally extend the

        contract to reach outside the contractual bargaining unit.” Id. See also

        Longshoremen Loc. 1291 (Holt Cargo Sys.), 309 N.L.R.B. 1283, 1286



                                             41
USCA4 Appeal: 23-1059   Doc: 62      Filed: 03/31/2023   Pg: 50 of 68




        (1992) (rejecting ILA work-preservation argument because ILA-

        represented employees had never performed the disputed work at the

        terminal at issue).

              In sum, the ILA’s lawsuit does not seek work preservation but work

        acquisition. Its conduct therefore had an unlawful “cease doing business

        objective” under the NLRA.

                   2.    ILA’s Coercive Conduct Was Unlawful Secondary
                         Activity Because USMX And Its Carrier-Members
                         Do Not Control The Lift-Equipment Work At The
                         Leatherman Terminal

              Independently, a union’s coercive action against an employer has

        an “improper secondary objective” if the “work sought by the union [is]

        not under the control of the immediate employer.” Pipefitters, 429 U.S. at

        521-22 (citing Nat’l Woodwork Mfrs., 386 U.S. at 616-17). “If a union

        pressures an employer, even one with which it has a valid collective

        bargaining agreement, to obtain work over which the employer has no

        ‘right of control,’ there is at least ‘strong evidence,’ that the union’s

        actions are not ‘addressed to the labor relations of the contracting

        employer vis-à-vis his own employees,’ but are instead ‘tactically

        calculated to satisfy union objectives elsewhere,’ and are thus prohibited

        secondary activity.” Int’l Bhd. of Elec. Workers, Loc. Union No. 501 v.


                                             42
USCA4 Appeal: 23-1059   Doc: 62     Filed: 03/31/2023   Pg: 51 of 68




        NLRB, 566 F.2d 348, 352 (D.C. Cir. 1977) (citations omitted) (quoting

        Nat’l Woodwork Mfrs., 386 U.S. at 644-45). See also Local 32B-32J SEIU,

        68 F.3d at 495 n.5 (“If one union pressures an employer who has no power

        over the . . . work, then that union’s conduct presumptively is directed

        toward another (secondary) employer who does have that power.”) (citing

        ILA I, 447 U.S. at 504-05; Pipefitters, 429 U.S. at 521-28). Thus, even if

        the union acts with the intent to preserve historical work, it engages in

        unlawful secondary activity if the coerced entity does not control the work

        being demanded. That is what happened here.

              As the Board itself found, SCSPA “indisputably” controls the lift-

        equipment work at the Port of Charleston, including at the Leatherman

        Terminal. Decision 7 (JA 1332). Indeed, SCSPA’s control of the lift-

        equipment jobs is recognized in the Master Contract Article 7, Section 7,

        which requires ILA and USMX to conduct a study “to meet with … port

        authorities in an effort to convince them to employ” ILA members. Supra

        at 7 (emphasis supplied).

              The Board, however, concluded that USMX carrier-members have

        the right to control work performed on their own containers, because the

        carriers decide which ports to utilize. Decision 7 (JA 1332). The Board’s



                                            43
USCA4 Appeal: 23-1059   Doc: 62      Filed: 03/31/2023   Pg: 52 of 68




        main rationale for its decision appears to be that USMX carrier-members

        can “bypass” the Port of Charleston and thus ensure that ILA members

        perform the lift-equipment work elsewhere. Id. (JA 1332). In the Board’s

        view, ILA engages in work-preservation activities whenever it coerces

        any carrier in order to get an East Coast port to assign container-related

        work (here the lift-equipment work) to ILA, because a carrier can always

        decide to use a different port where ILA-represented members do the

        work.

              Of course, carriers could respond to ILA pressure by boycotting the

        Port of Charleston unless SCSPA relinquishes the lift-equipment work to

        ILA members. But that is not evidence of carrier control of the relevant

        work assignment. It is instead the consequence of ILA’s tactical pressure

        on carriers to obtain results from a second employer—i.e., the result of

        the coercion of a neutral party that the NLRA forbids. As the Ninth

        Circuit stated in a similar case, “ILWU’s argument regarding the

        shipping carriers’ ability to bypass the Port conflates the carriers’ control

        over their containers with the legal question of whether they have the

        ‘right to control the assignment of the work’ at this port.” Hooks ex rel.

        NLRB v. Int’l Longshore & Warehouse Union, 544 F. App’x 657, 658 (9th



                                             44
USCA4 Appeal: 23-1059     Doc: 62     Filed: 03/31/2023   Pg: 53 of 68




        Cir. 2013) (quoting Pipefitters, 429 U.S. at 537) (internal quotation marks

        omitted). 5

              Indeed, ILA’s theory of “control” directly contravenes Pipefitters

        and IBEW, No. 501. In Pipefitters, a general contractor (Austin) had a

        contract with a subcontractor (Hudik) for heating, ventilation and air-

        conditioning work on a building project. Under the contract, Austin

        purchased climate-control units to be delivered with internal piping cut,

        threaded, and installed. 429 U.S. at 511-12. The union representing

        Hudik’s employees had a collective bargaining agreement requiring pipe

        threading and cutting to occur on the jobsite; union members refused to

        install the pre-cut and threaded pipe. Id. at 512. The Board held that the

        union’s action violated section 8(b)(4)(B), and the Supreme Court agreed,

        explaining:

                      It is uncontrovertible that the work at this site
                      could not be secured by pressure on Hudik alone
                      and that the union’s work objectives could not be
                      obtained without exerting pressure on Austin as

        5International Longshoremen’s Association v. NLRB, 613 F.2d 890, 912-
        13 (D.C. Cir. 1979), does not support the Board’s Decision. As in the cases
        discussed in text, the factual context regarding stuffing and unstuffing of
        containers in that case is entirely distinct from the facts here. And, on
        review, the Supreme Court did not adopt the “right to control” analysis
        used in that decision, instead remanding the case for additional evidence
        on that point. ILA I, 447 U.S. at 511-12.

                                              45
USCA4 Appeal: 23-1059   Doc: 62      Filed: 03/31/2023   Pg: 54 of 68




                   well. . . . It was not error for the Board to conclude
                   that the union’s objectives were not confined to the
                   employment relationship with Hudik but included
                   the object of influencing Austin in a manner
                   prohibited by § 8(b)(4)(B).

        Id. at 530-31. See also IBEW No. 501, 566 F.2d at 351-52 (holding that

        union violated section 8(b)(4)(ii)(B) by engaging in work stoppages and

        other actions against neutral subcontractors to pressure general

        contractor to turn over operation of temporary power at construction sites

        to union-represented employees).

              In both Pipefitters and IBEW No. 501, the subcontractors could

        have refused to contract with the general contractor unless their own

        union-represented employees performed the disputed work. But in both

        cases, the general contractor provided otherwise in contracts with

        subcontractors, and the courts found that the general contractor

        “controlled” the work assignments. Like the general contractors in those

        cases, SCSPA indisputably had control of the relevant work assignment.

        Like the subcontractors in those cases, USMX and its carrier-members

        could have decided not to contract with SCSPA, rather than accept this

        division of labor. But that possibility is irrelevant to the legal question

        here—it “conflates” the question of control over containers with control



                                             46
USCA4 Appeal: 23-1059   Doc: 62     Filed: 03/31/2023   Pg: 55 of 68




        over the relevant work assignment. SCSPA controls the assignment of

        the lift-equipment work, and ILA’s coercion of USMX and its carrier-

        members to cease doing business with SCSPA to obtain the lift-

        equipment work for ILA-represented employees is secondary and

        unlawful.

              The Board rejected the import of Pipefitters, arguing that USMX

        carrier-members here are akin to the general contractor in that case, not

        the subcontractor. Decision 7 (JA 1332). This makes no sense; it is simply

        a bald assertion that the carriers—not SCSPA—control assignment of

        the lift-equipment work at the Port of Charleston. The USMX carrier-

        members here (like the subcontractors in Pipefitters) may be parties to

        an agreement with ILA that contains a work-preservation provision, but

        ILA is not coercing the carriers to change their work assignments.

        Instead, ILA unlawfully seeks to make SCSPA change its work-

        assignment decisions. See Pipefitters, 429 U.S. at 512 (the coerced

        subcontractor knew the contract it was bidding on would violate its

        contract (by allowing use of pre-cut, pre-threaded pipe), yet the Supreme

        Court agreed that the employer was neutral and unoffending).




                                            47
USCA4 Appeal: 23-1059   Doc: 62     Filed: 03/31/2023   Pg: 56 of 68




              ILA’s reliance on the ILA cases to support its argument is also

        misplaced. The ILA decisions were based on an evidentiary record

        demonstrating that ocean carriers had themselves developed the

        technology that led to containerization and sometimes used their own

        employees to perform the work of stuffing and unstuffing containers with

        goods. Thus, carriers decided the assignment of the work at issue—

        sometimes using their own employees to stuff and unstuff containers and

        other times releasing their containers for other employees to perform

        that work. See Int’l Longshoremen’s Ass’n (Dolphin Forwarding, Inc.),

        266 N.L.R.B. 230, 232 (1983), enforced in relevant part, 734 F.2d 966 (4th

        Cir. 1984), aff’d, 473 U.S. 61 (1985). Based on that record, the Board

        concluded that carriers controlled the assignment of the stuffing and

        unstuffing work on their containers, and the Supreme Court agreed. Id.

        at 261-62. 6



        6 The Board relies on the Ninth Circuit’s unpublished decision in
        American President Lines, Ltd. v. ILWA, Alaska Longshore Div., 611 F.
        App’x 908 (9th Cir. 2015), but it is inapposite. In that case, ILWA had
        “historically performed stevedoring work” in Seward, Alaska, giving it a
        work-preservation object; and on the right-to-control issue, the signatory
        carrier had an unfettered “choice in deciding whether or not to employ a
        connecting carrier who refuses to hire ILWU labor in Seward.” Id. at 911-
        12.

                                            48
USCA4 Appeal: 23-1059   Doc: 62     Filed: 03/31/2023   Pg: 57 of 68




              Here, the carriers have never performed the lift-equipment work

        with their own employees; nor did they develop or implement any

        technology that displaced ILA workers from bargaining-unit jobs, as the

        carriers did in the ILA cases. Thus, neither USMX nor its carrier-

        members control the assignment of that lift-equipment work. As a result,

        ILA’s lawsuit to prevent USMX and its members to cease calling at

        Leatherman Terminal constitutes secondary pressure to coerce SCSPA

        to fire its state employees and have them replaced with ILA-represented

        employees (or to cease operating the Terminal). Cf., e.g., Hooks ex rel.

        NLRB v. Int’l Longshore & Warehouse Union, 905 F. Supp. 2d 1198, 1212

        (D. Or. 2012) (“because the Carriers have no power to assign the [work at

        issue] to ILWU members, [ILWU’s] grievances are tactically calculated

        to pressure the Carriers to cease doing business with the Port”), aff’d in

        part, vacated in part, 544 F. App’x 657 (9th Cir. 2013). Indeed, if ILA’s

        contrary argument were accepted, any purchaser of goods or services

        would be deemed vested with control over the work assignments of the

        seller, an absurd result that would cripple the doctrine forbidding

        secondary coercion.




                                            49
USCA4 Appeal: 23-1059   Doc: 62      Filed: 03/31/2023   Pg: 58 of 68




              In sum, ILA’s lawsuit had the unlawful object of coercing USMX

        and its carrier-members to cease doing business with SCSPA to force

        SCSPA to use ILA members in its lift-equipment jobs.

        II.   ILA And USMX And Its Carrier-Members Entered Into An
              Unlawful Agreement Not To Do Business With New
              Container-Handling Facilities Which Did Not Use ILA
              Members For All Container-Related Work

              The ALJ found, and the Board affirmed, that ILA and USMX had

        “reached no agreement” about whether that language in the Master

        Contract prohibited USMX carriers from calling on new facilities that did

        not use ILA-represented employees to perform all container work, and

        therefore that they did not violate section 8(e). Decision 3, 25 (JA 1328,

        JA 1350). See Decision 25 (the evidence “does not establish the parties

        agreed to administer the provision in an unlawful manner”) (JA 1350).

        This decision was arbitrary and unreasonable.

              In determining whether a union and employer have made an

        “express or implied” agreement to cease doing business with a third

        party, “[t]he touchstone is whether the agreement or its maintenance is

        addressed to the labor relations of the contracting employer vis-à-vis [its]

        own employees.” Nat’l Woodwork Mfrs., 386 U.S. at 645. See also John E.

        Higgins, Jr., The Developing Labor Law: The Board, the Courts, and the


                                             50
USCA4 Appeal: 23-1059   Doc: 62        Filed: 03/31/2023   Pg: 59 of 68




        National Labor Relations Act, § 23.II.A (8th ed. 2022) (National

        Woodwork “teaches that if the object of a suspect clause is to benefit union

        members generally, as distinguished from employees within the

        bargaining unit, the clause violates Section 8(e)”). Here, considered as a

        whole, undisputed record evidence shows that the Master Contract

        constitutes an implied agreement that USMX carrier-members would not

        do business with East and Gulf Coast employers that developed new

        container-handling facilities and used non-ILA members in jobs that ILA

        members fill at other ports.

              As the Board has previously explained:

                   Congress was intent upon outlawing ‘hot-cargo’
                   clauses no matter how disguised. Probably no
                   language can be explicit enough to reach in
                   advance every possible subterfuge of resourceful
                   parties. Nevertheless, we believe that in using the
                   term “implied” in Section 8(e) Congress meant to
                   reach every device which, fairly considered, is
                   tantamount to an agreement that the contracting
                   employer will not handle the products of another
                   employer or cease doing business with another
                   person.

        Lithographers Loc. 78 (Employing Lithographers of Miami), 130 N.L.R.B.

        968, 976 (1961). In addition, where, as here, a clause “is ambiguous, the

        Board will not presume unlawfulness, but will consider extrinsic



                                               51
USCA4 Appeal: 23-1059   Doc: 62      Filed: 03/31/2023   Pg: 60 of 68




        evidence to determine whether the clause was intended to be

        administered in a lawful or unlawful manner.” Gen. Teamsters Loc. 982

        (J.K. Barker Trucking Co.), 181 N.L.R.B. 515, 517 (1970), aff’d, 450 F.3d

        1322 (D.C. Cir. 1971); Elevator Constructors Loc. 3 (Long Elevator &

        Mach. Co.), 289 N.L.R.B. 1095, 1095 n.2 (1988).

              Initially, the text of Article 7, Section 7(a) reflects ILA’s intent to

        change the business model of ports using the hybrid model by requiring

        a study that would be used to persuade ports using the hybrid model to

        change. It is undisputed that no study was ever done. Decision 2-3 n.3 (JA

        1326-1327). Section 7(b) then directly ties that putative study to a

        requirement that USMX member-carriers notify any Port developing “a

        new container handling facility” that member-carriers “may be

        prohibited” from calling at facilities using such models. Supra at 7. This

        language is, at least, a threat; respectfully, its intent is clear—to avoid

        facial invalidity under Section 8(e) while conveying that USMX carrier-

        members will not be permitted to call at facilities that do not bring their

        new facilities under the Master Contract. At the very least, the clause is

        ambiguous about the parties’ intentions. The ALJ and the Board erred in

        concluding otherwise.



                                             52
USCA4 Appeal: 23-1059   Doc: 62     Filed: 03/31/2023   Pg: 61 of 68




              Examining the extrinsic evidence here reveals the parties’

        intentions. As to the union’s intent, ILA President Daggett testified that

        this interpretation was discussed and agreed upon in contract

        negotiations. See Tr. 284 (“any new terminal that comes online, if it’s not

        100[%] ILA then the carriers cannot go there”) (JA 295); Tr. 252 (“any

        new terminal coming online, those jobs would be bargaining unit workers

        covered by the ILA, covered by the master contract, or else those lines

        would be prohibited from coming into those terminals”) (JA 263). A

        September 2017 article in a prominent trade publication quoting ILA

        Vice-President Riley as stating: “This is my No. 1 issue. Anything else in

        the contract would be secondary to me. I think about it in the morning. I

        think about it at night. We want the jobs that our colleagues in other

        ports have.” General Counsel (“GC”) Exhibit 9 at 2 (JA 585). See also

        supra at 9-10; Tr. 264 (“ILA’s position [is] that article 7, section 7

        prohibits USMX member carriers from sending ships to the Leatherman

        Terminal … [u]nder that [hybrid] model.”) (JA 275). In a January 6, 2021

        call among SCSPA and ILA representatives, and the late South Carolina

        State Senator Leatherman and others, Riley stated that carriers could

        not call on Leatherman Terminal unless ILA members performed all



                                            53
USCA4 Appeal: 23-1059   Doc: 62      Filed: 03/31/2023   Pg: 62 of 68




        work there. See supra at 11 (ILA is “interested in consuming all the jobs”).

              After ILA filed its lawsuit to enforce the Master Contract and

        prevent USMX carrier-members from calling at Leatherman Terminal,

        the statements and conduct of USMX representatives reveal their

        practical interpretation of the Master Contract as an implied agreement

        not to call at non-compliant ports.

              As the opening date for Leatherman Terminal approached in 2020,

        USMX Chairman and CEO Adams provided SCSPA with the Section 7(b)

        notice that “USMX members may be prohibited from using the new

        facility ….if the work at that facility is not performed by Master contract

        bargaining-unit employees.” See supra at 10. And USMX refused to

        submit the meaning of Section 7(b) to an arbitrator for a definitive

        determination of its meaning. Supra at 11. Moreover, when SCSPA

        reached out to USMX carrier-members to arrange for them to use

        Leatherman Terminal, it received responses indicating that USMX

        members would not use the Terminal unless SCSPA agreed to ILA’s

        position on the manning of that Terminal. Specifically, SCSPA received

        the following communications:




                                              54
USCA4 Appeal: 23-1059   Doc: 62    Filed: 03/31/2023   Pg: 63 of 68




                • An August 3, 2020 email from USMX carrier-member 7 Ocean
                  Network Express (‘[o]f course, our primary concern would be
                  the risk involved if an agreement with the ILA has not been
                  finalized”). Tr. 55 (JA 65); GC Exhibit 18 at 2 (JA 651).

                • An August 5, 2020 email from carrier-member COSCO
                  (expressing concern about calling at Leatherman due to “some
                  perceived unique challenges relative to the USMX-ILA
                  agreement(s);” stating that the carrier “[m]ust defer to USMX
                  regarding Leatherman;” and seeking clarification of how
                  SCSPA intended to operate the Terminal). GC Exhibit 7 (JA
                  538-542); Tr. 58-60 (JA 68-70).

                • An August 6, 2020 telephone call from USMX Board member
                  and COSCO Executive Vice President (explaining that
                  COSCO would be “exposed” if it used the terminal without a
                  resolution with ILA, and expressing willingness to use it “if
                  the USMX and the ILA would work something out”). Tr. 60-
                  64 (JA 70-74).

                • An August 12, 2020 telephone call from USMX Board member
                  and carrier ONE Vice President (explaining that ONE “would
                  have an issue until the USMX and the ILA could find a
                  resolution to article 7, section 7 and how it applied to the
                  Leatherman Terminal”). Tr. 64-65 (JA 74-75).

                • An August 26, 2020, telephone call from USMX Board
                  member and carrier Maersk’s head of labor (noting that
                  Article VII, Section 7 was added to the Master Contract in
                  specific anticipation of the Leatherman Terminal). Tr. 69-72
                  (JA 79-82).

                • An August 26, 2020 telephone conversation from USMX
                  Board member and carrier MSC Executive Vice President
                  (“ma[king] it very clear at the outset that MSC would not put

        7GC Exhibit 17 is a link to the list of USMX member companies. (JA 646-
        648).

                                           55
USCA4 Appeal: 23-1059   Doc: 62     Filed: 03/31/2023   Pg: 64 of 68




                   a ship at the Leatherman Terminal absent resolution of the
                   USMX-ILA consideration of the application of article 7,
                   section 7”). Tr. 72-73 (JA 82-83).

                • An August 27, 2020 telephone call from USMX Board member
                  and carrier Evergreen Vice Chairman who “made it very clear
                  to [SCSPA CEO] that Evergreen would not deploy a ship to
                  the Leatherman Terminal absent resolution of that issue”).
                  Tr. 74 (JA 84).

                • A September 3, 2021 telephone call from USMX Board
                  member and NY Shipping Association President (discussing
                  attempt to enforce Article VII, Section 7 as a potential
                  “secondary boycott”). Tr. 76 (JA 86).

                • A March 31, 2021 call from carrier MCA CGM Chief
                  Operating Officer (declining to call at the Leatherman
                  Termination “due to the uncertainty of application of article
                  7, section 7.”). Tr. 106-107 (JA 116-117).

                • An April 25, 2021 communication from MCA, stating that ILA
                  had told him that it would amend its lawsuit to include CMA
                  CGM, that he would “rather spend a million dollar[s] [and] he
                  would omit the Port of Charleston and only call Savannah if
                  we forced him to go to the Leatherman Terminal”). Tr. 112-
                  113 (JA 122-123).

                • An April 27, 2021 telephone call from COSCO demanding that
                  COSCO be permitted to call at a different terminal and
                  indicating that the carrier would bypass Charleston if SCSPA
                  did not agree. Tr. 115-117 (JA 125-127).

        Even more tellingly, following the filing of the ILA lawsuit on April 22,

        2021, to enforce the Master Contract, numerous ships originally scheduled

        to call at Leatherman Terminal refused to do so, and USMX carrier-



                                            56
USCA4 Appeal: 23-1059    Doc: 62     Filed: 03/31/2023   Pg: 65 of 68




        members “ceased calling at the Leatherman Terminal.” Decision 3 (JA

        1328).

                 In light of the undisputed communications quoted above and the

        uniform response by USMX carrier-members to a lawsuit alleging that

        calling at the Leatherman Terminal violated the Master Contract, it was

        arbitrary and unreasonable for the Board not to find that ILA and USMX

        had an implied agreement not to do business with new container-

        handling terminals that did not exclusively employ ILA members. It

        could not be clearer that USMX declined to enter into a written

        agreement not to do business with non-compliant ports to avoid a facial

        violation of section 8(e), but that both parties understood and agreed that,

        as a practical matter, USMX carrier-members would not call at such

        terminals. At the very least, Article 7, Section 7 constitutes a “device

        which, fairly considered, is tantamount to an agreement that the

        contracting employer will not handle the products of another employer or

        cease doing business with another person.” Lithographers Loc. 78, 130

        N.L.R.B. at 976.




                                             57
USCA4 Appeal: 23-1059   Doc: 62     Filed: 03/31/2023   Pg: 66 of 68




                                    CONCLUSION

              The Decision and Order of the Board should be reversed.

                                                 Respectfully submitted,

         TRACEY C. GREEN                      CARTER G. PHILLIPS
         BURR & FORMAN LLP                    SIDLEY AUSTIN LLP
         1221 Main Street, Suite 1800         1501 K Street, N.W.
         Columbia, S.C. 29201                 Washington, D.C. 20005
         (803) 753-3224                       (202) 736-8000
         tgreen@burr.com                      cphillips@sidley.com



         MICHAEL O. ECKARD
         OGLETREE, DEAKINS, NASH, SMOAK
         & STEWART, P.C.
         211 King Street, Suite 200
         Charleston, S.C. 29401
         (843) 720-0872
         michael.eckard@ogletreedeakins.com

               Counsel for Petitioner South Carolina State Ports Authority




                                            58
USCA4 Appeal: 23-1059       Doc: 62   Filed: 03/31/2023   Pg: 67 of 68




                              CERTIFICATE OF COMPLIANCE

              Under Federal Rule of Appellate Procedure 32(a)(7), I certify that:

              This brief complies with Rule 32(a)(7)’s type-volume limitation and

        this Court’s order of March 17, 2023, because it contains 11,736 words,

        as determined by the Microsoft Word 2016 word-processing system used

        to prepare the brief, excluding the parts of the brief exempted by Rule

        32(a)(7)(B)(iii).

              This brief complies with Rule 32(a)(5)’s typeface requirements and

        Rule 32(a)(6)’s type-style requirements because it has been prepared in a

        proportionately spaced typeface using the 2016 version of Microsoft Word

        in 14-point Century Schoolbook font.


                                                   /s/ Carter G. Phillips
                                                   CARTER G. PHILLIPS
USCA4 Appeal: 23-1059   Doc: 62      Filed: 03/31/2023   Pg: 68 of 68




                             CERTIFICATE OF SERVICE

              I certify that I caused this document to be electronically filed with

        the Clerk of the Court using the appellate CM/ECF system on March

        31st, 2023. All participants in the case are registered CM/ECF users and

        service will be accomplished by the appellate CM/ECF system.


                                                  /s/ Carter G. Phillips
                                                  CARTER G. PHILLIPS
